 

Case 1:12-cv-10717-RGS Document 1-1 Filed 04/23/12 Page 1 of 4

EXHIBIT A

 

 

C Se 1:12-cv-lO717-RGS Document 1-1 Filed 04/23/1_2 Pa e 2 0i4

\_ CT Or|pozrai;ic;);n

To: Michael Baiiner

Se».rvlce 0 Process
“I‘ran$mi`ttal
03/23/2012

CT Log Number 520197590

Resurgent Capital Services L.P.
15 Soutii Mnin Street, Suite 600

Greenviile, SC 29601~

RE= Process Served in Sou!h Camlln.a

FOR: LVNV Funding, LLC (Dom'estic State: DE}

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ON WHDN| FRDCE$B WAB SERVEB:

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JUR|BDIGTION SEIIVED .'.
APPEAR}LNCE OR ANSWER DUE:

ATTOR.N.EY($} f BIENDER[S)H

A{;TION l'£”EMS=

$¥GNEB:
PER:
M}BRESS:

'I'EI..E.`FHUNE:

Josh Potamis, Pltf. vs. LVNV Funding LLC, th.
blame discrepancy noted.

Nr)t'ice(s}

laynn Distrir:`t Court, MA
asa # 1213$€000538

Nutice of next event

CT Corporation Systerr'¢r Columt)ia, SC

By Regular Mail on 03/23/2012 postmarked on 031 213/2012
South Carolina

May 15, 2012 at 9:00 a,m.

Commonwealth of Massachusetts, Lynn Division
District Court De|f)artment of the Trtal Cour't
530 Essex St.

Ly_nn, MA 0'1901

CT has retained the current log, Retain Date: 03/23/2012, Expncte-d Purge Date:
93!28!2012

image S{JP

Ernai§ Nui:ificatiun, administrative resurgent ::tservir:e@resurgent.com

CT C<}rpor“ation System
Amy Manrezz

2 Of€ice Pari< Court
Si:ite ?03

Columbia, SC 29223
800~592-9023

Page1of 1 /RG

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rf:c¢)rd Krz{apihg purposes only and is provided to tim recipient fur
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DocKaT NUMBER frial éot.l|'f Of NlaSSachUSettS
NOT'CE OF NEXT EVENT 12133(;000533 District Court Department
°"SE N*"`"E Josh Potamis v. LVNV Funding LLc, cT corporation system
Awonne~r con eeo ss PARTY)TO wHon THis coPY cF NoncE is issqu couRT mine s. ripeness
LVNV Funding LLCl CT Corporation System Lyl‘ln DiSfrin COUl't
2 Office Park Court ` 580 Essex Street
SUife 103 ‘ Lyl’il’i, MA 01901

Co|umbia, SC 29223

 

NEXT COURT EVENT JUDGE OR |V|AG|STRATE (ifa|ready assignod)

N|agistrate Hearing

 

o

05118!2012 at 9:00 AM
Sma|t Claims Magistrate Session

 

AAA COUNSEL FOR ALL PART|ES (OR PRO SE PART‘() AAA

N`iUST AFPEAR ON THE DATE 8¢ TlME` SHOWN AESOVEl

 

 

TO THE PART|ES TO TH|S CASE:

The nature, date and time of the next scheduled event concerning this case is indicated above.
You are required to be present at this event
if you have good reason to request the-Court to reschedule this event for another date, such request must be made by

motion in accordance with the applicable court ru|e. P|ease note that the granting cf a continuance is not automatic even
when ali the parties agree '

Further Orders of the Court.

 

 

DATE |SSUED CLERK-MAG|STRATE

March 20, 2012 Jane Brady Stirgwo|t

 

 

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www.mass.gov/oourts oaiarrime Prinied-. 03-20-2012 09:52:52

 

 

 

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Fgr Coun DOCKET NO

 

 

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C|aims Session

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mo ~oT “i!-`ts dtdi`im
,,Am l:i BOSTON MUN|C|PAL
' COURT

l:i DlSTRlCT COURT
Dlvlsion

i:i HOUS|NG COURT

 

 

 

Division

 

 

PLAiNTlFF'S NAME ADDRESS, Z|P CODE AND PHUNE PLA|NT|FF'S ATTORNEY (ii any)

 

 

 

 

 

 

 

 

 

 

 

 

 

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DATE 9 5 /JO/ it-)\

 

MED|ATION:
who will assist the p
he or she desires mediation; the defendant may consent to mediation on the trial date.

l:] The plaintiff is willing to attempt to settle this claim through court mediation.

PART
5

Medi¢';t*l§po(h is claim may be mrai|able prior to trial if both parties agree to discuss the matter with a mediator
res in trying to resolve the dispute on mutually agreed to terms. The plaintiff must notify the court if

 

MlL|'fAFiY AFF|DAVIT: The plaintiff states under the pains and penalties of perjury that the:

mm 9'\1/ above defendant(s)` ls (are) not serving in
o the military and at present |ive(s} or work(s )

the military
at the above address

yzz S|GNA§§§E §§ §§A|NTFFF

 

El above defendant(s)' rs(are) serving' m

_tL/~€i rs t

 

 

 

 
 

 

 

 

al NOT.|CE TO DEFENDANT: NAMEANvoonEssoFcounT _.(
- Y`ou are being sued in Smal| Ciaims Court by the above H](;T COUFiT sent nrs 0
E named plaintiff. You are directed to appear for trial of this WNN §‘SSgEX STHEET PA-£BNTTH;F 0
“' he ri ht. 530 ' ‘:
o claim on the date and time noted to t g A m 901 DEFENDANT m
w LYNN, M MUST ~"I
o |f you wish to settle this claim before the trial date', you AppEAR AT 3
il should contact the plaintiff or the plaintiffs attorney t oArsANonMs oFrn:AL TH(i)ch:To|lér-ir m
g 5 if zzAT oan mo O\
SEE ADD|T|ONAL iNSTFiUC ONS ON Ti~iE BACK F HlS F TiME §
Frnsr.iusncs DATE T|ME sPschiEo ,<
ALBERT S. noon No. "\¢

 

 

 

 

 

INSTRUCTIONS FOR FlLiN

DC-SG~`i (10/09} ATENC|ON: ESTE ES UN AV|SO OF|CiAL DE LA CORTE. S| USTED NO SABE LEEFi |NGLES. OBTENGA UNA THADUCCION

;MALLCLA|M -.-- You must complete Parts 16 cf this form See instructions on reverse

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cf_`lnl.\uj€'\ Ujl\i l 1a l|'n "“\,J[.Il ¢'\(_\\_i"“|f'\ IDIII l\ _ll-\I ll"\\! 0 fllunk[:!l:n

